Case 1:19-cr-00576-BMC Document 156 Filed 01/04/23 Page 1 of 1 PageID #: 1851


                                                  U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York
SK/EMR/PP/MED                                     271 Cadman Plaza East
F. #2019R00927                                    Brooklyn, New York 11201


                                                  January 4, 2023

By E-mail and ECF

César de Castro, Esq.
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                Re:   United States v. Genaro Garcia Luna
                      Criminal Docket No. 19-576 (BMC)

Dear Counsel:

               Pursuant to 18 U.S.C. § 3500, the government is disclosing to you the
enclosed material related to 11 potential witnesses and supplemental material related to 13
potential witnesses whose § 3500 material was previously produced. This production is
marked “Protected Material” and is subject to the terms of the Court’s February 18, 2020,
Protective Order. See Dkt. No. 19. The government will disclose additional § 3500 material
related to these witnesses as it becomes available and will produce § 3500 material regarding
other witnesses sufficiently in advance of their testimony.

                                                  Very truly yours,

                                                  BREON PEACE
                                                  United States Attorney

                                           By:     /s/
                                                  Saritha Komatireddy
                                                  Erin M. Reid
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cc: Clerk of Court (BMC) (via ECF)
